           Case 2:20-cv-01576-MJP Document 17 Filed 12/21/20 Page 1 of 31



1                                                       Honorable Marsha Pechman
2

3

4

5

6

7
                        UNITED STATES DISTRICT COURT
8                 FOR THE WESTERN DISTRICT OF WASHINGTON
                                 AT SEATTLE
9

10
     SANJAY CHAKRAVARTY, TXLEY,
11
     INC., and TXLEY, INC., a Washington
12   State Corporation,
13
          Plaintiffs,
14                                             Case No. 2:20-cv-01576-MJP
15                      v.
16   ERIC PETERSON, an individual; CITY PLAINTIFFS’ FIRST AMENDED
17   OF BURLINGTON, a Washington State COMPLAINT
     Municipal Corporation; SKAGIT
18
     COUNTY, a Washington political     AND
19   subdivision,
20
                                        JURY DEMAND
           Defendant(s).
21

22

23                 PLAINTIFF’S FIRST AMENDED COMPLAINT
24
          Plaintiffs, SANJAY CHAKRAVARTY and TXLEY, INC., (“Plaintiffs”),
25

26   by their/its attorney, files this First Amended Complaint against Defendants ERIC
27

28   PLAINTIFFS’ FIRST AMENDED COMPLAINT AND JURY DEMAND - 1
     Case No. 2:20-cv-01576-MJP
                                                               WHEAT LEGAL PLLC
                                                                701 FIFTH AVENUE
                                                                    SUITE 4265
                                                          SEATTLE, WASHINGTON 98104-7047
                                                             TELEPHONE: (206) 262-7381
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1    PETERSON, the CITY OF BURLINGTON, and SKAGIT COUNTY as a
2
     political subdivision of the State of Washington, (“Defendants”), and alleges as
3

4    follows:
5
                             NATURE OF THE ACTION
6

7
                This is an action under 42 U.S. Code § 1983 concerning alleged

8               unlawful discrimination on the basis of race or national origin by a
9
                local government official, PLAINTIFFS’ FIRST AMENDED
10

11              COMPLAINT AND JURY DEMAND
12
                This case is about a pattern of observably arbitrary and discriminatory
13

14
                decision making by a specific public official at different levels of local

15              government over a period of three (3) years.
16
                It is about the policies of two (2) public bodies in the State of
17

18              Washington that give safe harbor to those accused of racial
19
                discrimination to continue that discrimination. It is more than a
20

21
                grudge. Did the Defendant, Eric Peterson, under color of law, violate

22              Plaintiff Sanjay Chakravarty’s right to be free from discrimination on
23
                the basis of his skin color or national origin in the public bidding
24

25              process?
26

27

28   PLAINTIFFS’ FIRST AMENDED COMPLAINT AND JURY DEMAND - 2
     Case No. 2:20-cv-01576-MJP
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1              Plaintiff is seeking liability and damages and notes that the Complaint
2
               will also contain a formal prayer at its end (see below).
3

4                                  THE PARTIES
5
               Plaintiff, SANJAY CHAKRAVARTY, (“Plaintiff Chakravarty”), is
6

7
               an individual residing in Mount Vernon, Washington and a citizen of

8              the state of Washington.
9
               Plaintiff, TXLEY, INC., (“Txley” pron. “Tex-lee”), is a Washington
10

11             state corporation registered and doing business in Skagit County.
12
               Defendant, ERIC PETERSON, (“Defendant Peterson”), is an
13

14
               individual, that on information and belief is residing within this

15             court’s jurisdiction. Defendant Peterson is the Facilities Coordinator
16
               for Skagit County Facilities Management.
17

18             Defendant, CITY OF BURLINGTON, is a municipal corporation
19
               situated in Washington State.
20

21
               Defendant, SKAGIT COUNTY, is cited as a political subdivision of

22             Washington State.
23
     ///
24

25   ///
26

27

28   PLAINTIFFS’ FIRST AMENDED COMPLAINT AND JURY DEMAND - 3
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1                           JURISDICTION AND VENUE
2
               This Court has jurisdiction over the subject matter of this action under
3

4              42 U.S. Code § 1983.
5
               This Court has further supplemental jurisdiction under 28 U.S.
6

7
               Code § 1367.

8              This Court has personal jurisdiction over Defendant Peterson because
9
               Defendant Peterson is domiciled in Washington State.
10

11             Venue in this district is proper under 28 U.S.C. § 1391(b)(1) because
12
               the defendant resides in this district and all other defendants reside in
13

14
               this district or a district within this state.

15                                        FACTS
16
               For 10 years, Plaintiff Sanjay Chakravarty has owned and operated
17

18             Txley, Inc., a facility supply business operating in Western
19
               Washington.
20

21
               Txley, Inc. was established in 2010 as a facility supply and

22             distribution company. Their focus is on performance, reliability and
23
               trustworthiness. They pride themselves in, “[being] an independently
24

25             owned company that has continued to increase our market share every
26

27

28   PLAINTIFFS’ FIRST AMENDED COMPLAINT AND JURY DEMAND - 4
     Case No. 2:20-cv-01576-MJP
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1              day for a reason. With our deep knowledge of the local market and
2
               our smart approach to finding the best products and negotiating the
3

4              best deals, we make sure our clients have the most positive and
5
               profitable experience available. And because we live in the
6

7
               communities where we do business – we are aware of the trends,

8              which in turn provides an unprecedented understanding of the latest
9
               market conditions. When it comes to market knowledge, Txley
10

11             remains the number one resource for your JanSan & Facility needs.”
12
               The Plaintiff’s organization employs numerous people in the region
13

14
               from diverse backgrounds, cultures, and experiences.

15

16

17

18

19             Photos    of     Plaintiff’s   team
20

21

22

23

24

25

26

27

28   PLAINTIFFS’ FIRST AMENDED COMPLAINT AND JURY DEMAND - 5
     Case No. 2:20-cv-01576-MJP
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1              The Plaintiff Txley is a member of the Burlington Chamber of
2
               Commerce, and Mount Vernon Chamber of Commerce. They are
3

4              also members of the Skagit County Builders Association and also
5
               Building Services Contractors Association.
6

7
               Under RCW 36.32.245, no contract for the provision of materials or

8              supplies may be entered into with a county until after bids are sought,
9
               and that contracts requiring competitive bidding may be awarded only
10

11             to the lowest responsible bidder.
12
               THAT TIME DEFENDANT ERIC PETERSON SLAMMED
13

14
               THE DOOR IN PLAINTIFF’S FACE ON LEARNING THAT

15             THE “JAY” OVER THE PHONE WAS IN FACT “SANJAY
16
               CHAKRAVARTY”. On or around the period between June 19,
17

18             2017 to June 30 of 2017, on a weekday afternoon, when Plaintiff
19
               Chakravarty attempted to meet with Defendant Eric Peterson in
20

21
               person at the City of Burlington’s Offices, shortly after lunch, the

22             prior courteous tone and tenor of their telephone conversations
23
               suddenly dissipated. Plaintiff was acutely aware of the change in how
24

25             “Jay” was treated, from how “Sanjay” was treated. He felt aggrieved
26

27

28   PLAINTIFFS’ FIRST AMENDED COMPLAINT AND JURY DEMAND - 6
     Case No. 2:20-cv-01576-MJP
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1              by the Defendant Peterson’s implicit bias then, and he would later
2
               raise the issue, to no avail, with the City of Burlington, as below.
3

4              In 2019, Plaintiff had suggested alternates, that some branded
5
               alternatives contain higher volumes of chlorine toxicity than products
6

7
               carried by the Defendant. Plaintiff makes a practice of suggesting

8              alternative cost-effective solutions of similar or higher efficacy.
9
               In April 2019, Skagit County went to bid. Plaintiff was awarded this
10

11             contract.
12
                On information and belief, Defendant Eric Peterson is hired by
13

14
               Defendant Skagit County at some point after Plaintiff complained

15             about the incident with the Defendant City of Burlington, as the
16
               Facilities Coordinator with Ken Hansen as his boss and Director.
17

18             Defendant Eric Peterson sent out a new bid, emailed to Plaintiff, on
19
               23 April 2020.
20

21
               Plaintiff objects and calls Ken Hansen. Before submitting their bids

22             for a second time, Plaintiffs had a 35-minute telephone call with Ken
23
               Hansen, registering his objections and strong concerns on submitting
24

25             the bid information and specific products requested.
26

27

28   PLAINTIFFS’ FIRST AMENDED COMPLAINT AND JURY DEMAND - 7
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1              On information and belief, Ken Hansen immediately directs Eric
2
               Peterson to cancel the bid. There was a new Bid No. 2 sent out on 30
3

4              April 2020.
5
               Plaintiff Txley delivered their bid via courier at the last possible
6

7
               moment in order to avoid what Plaintiff Sanjay Chakravarty suspected

8              was ongoing collusion.
9
               ARTFUL CHANGING OF BID PRE-REQUISITES TO 10
10

11             YEARS. These proposed bid requirement changes favored Bay City
12
               Supply to the detriment of Plaintiff. Plaintiff had a nine-year-old
13

14
               business at the time.      There is no reasonable relation to the

15             justification for this requirement except to exclude the Plaintiff.
16
               ARTFUL CHANGING OF NO EQUIVALENT PRODUCT
17

18             EXCEPTIONS. The bid requested specific products for which a
19
               demonstrably less expensive and higher quality alternative was
20

21
               available on the market. Just as in 2019, Plaintiff suggested alternates,

22             with evidence, that PurTabs called for in the bid and sold by Bay City
23
               Supply contain higher volumes of chlorine toxicity than products
24

25

26

27

28   PLAINTIFFS’ FIRST AMENDED COMPLAINT AND JURY DEMAND - 8
     Case No. 2:20-cv-01576-MJP
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1              carried by the Plaintiff. Envirox is another more costly product that
2
               is demonstrably less effective.
3

4              On the bid, though under contract during 2019, purchasing decisions
5
               have demonstrated a bias and preference towards Bay City Supply
6

7
               lists, as above. Bay City Supply has a proprietary supply list. It is

8              proprietary to them for the purpose of obtaining preference, and not
9
               because of any specific cleaning or sanitary requirement.            For
10

11             instance, with toilet paper - Bay City Supply deals in “GP”, “Solaris”,
12
               and “LoCore” branded goods, while Plaintiff deals in “CT
13

14
               Commercial”. Many of the supplies requested are fungible, and many

15             are not.
16
               ACE HARDWARE. Eric Peterson or Bret Bryan or their associates
17

18             invited Ace Hardware of Anacortes, who on information and belief
19
               do not generally participate in bids, to participate in this bid. The
20

21
               hopeless bid participation was nothing more than an artifice aimed at

22             camouflaging the unfairness of the process towards Plaintiff. The
23
               “low-ball” bid was not a serious effort at winning the bid, but it was
24

25             a serious effort at portraying the bid as competitive.
26

27

28   PLAINTIFFS’ FIRST AMENDED COMPLAINT AND JURY DEMAND - 9
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1              On information and belief, the idea to have Ace Hardware of
2
               Anarcortes’ bid on the contract did not originate with Ace Hardware
3

4              of Anarcortes, but with Defendant Eric Peterson.
5
               On information and belief, through diversions of orders in different
6

7
               marginal categories orders with its competitor, Bay City Supply,

8              instead of placing orders in good faith with the parties to the
9
               agreement, Eric Peterson, Bret Bryan, and Franz Johnson of Bay City
10

11             Supply acted together in either inadvertent cooperation, or conspiracy,
12
               or both.
13

14
               On information and belief, there is an “Old Boy Network” of local

15             suppliers in the region who meet for breakfast regularly with Franz
16
               Johnson, and who feel they “own” public contracts in Skagit County,
17

18             San Juan County, and a federal defense contract in Kitsap County.
19
               Ultimately, an unnamed out of state corporation is the beneficiary of
20

21
               Defendant Eric Peterson’s alleged intentional conduct.

22             On December 21, 2020, Plaintiff Sanjay Chakravarty requested the
23
               Federal Bureau of Investigation look into the unlawful competitive
24

25             practices by this unnamed beneficiary corporation during the previous
26

27

28   PLAINTIFFS’ FIRST AMENDED COMPLAINT AND JURY DEMAND - 10
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1              fifteen (15) years and naming four (4) witnesses with personal
2
               knowledge. Plaintiff was told he would need to pursue the matter
3

4              through local law enforcement.
5
               The cumulative and collective impact of this pattern of being treated
6

7
               differently in public contracting because of his perceived national

8              origin or background by the Defendant Eric Peterson in his tenure of
9
               employment at Defendants City of Burlington, and now Skagit
10

11             County, has caused, and continues to cause, damage to Plaintiffs.
12
               As above, it was important enough for the Plaintiff Sanjay
13

14
               Chakravarty to stand up at a City Council meeting at the City of

15             Burlington on 24 October 2019 and address the issue in the public
16
               record, whereafter private promises of change and that the issues
17

18             would be appropriately addressed followed, but none were kept. A
19
               copy of Plaintiff’s written statement presented at the time is attached
20

21
               hereto as Exhibit A.

22             Shortly thereafter, Defendant Eric Peterson then went into
23
               employment at Defendant Skagit County and continued his pattern of
24

25             discriminatory conduct in his role there. But this time it happened
26

27

28   PLAINTIFFS’ FIRST AMENDED COMPLAINT AND JURY DEMAND - 11
     Case No. 2:20-cv-01576-MJP
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1               during the Covid-19 pandemic, and even after the false start where the
2
                bidding requirements were reset to arrive at the second bid, Defendant
3

4               Eric Peterson continues to push marginal order, item orders to the
5
                Plaintiff’s competitor and loser in the bidding process, Bay City
6

7
                Supply.

8                           FIRST CLAIM FOR RELIEF
9
                                   (CIVIL RIGHTS)
10

11     (Against Defendants – Eric Peterson; City of Burlington; Skagit County)
12
                The Plaintiffs reallege and incorporate by reference its allegations to
13

14
                Paragraphs 1 through 38.

15              At all relevant times, whether it was during his employment at the
16
                City of Burlington or at Skagit County, Eric Peterson was acting under
17

18              color of law.
19
                (a)   Defendant Eric Peterson intentionally discriminated against
20

21
                      Plaintiff Sanjay Chakravarty on the basis of national origin or

22                    race by rudely slamming his office door in the face of the
23
                      Plaintiff, harming the dignity of the Plaintiff.
24

25

26

27

28   PLAINTIFFS’ FIRST AMENDED COMPLAINT AND JURY DEMAND - 12
     Case No. 2:20-cv-01576-MJP
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1              (b)   Defendant Eric Peterson intentionally discriminated against
2
                     Plaintiff Sanjay Chakravarty by attempting to exclude Plaintiff
3

4                    Txley from the bidding process by creating the bidding
5
                     requirement of 10 years incorporation, which bore no
6

7
                     reasonable relation to the contract requirements, at a time when

8                    the Plaintiff Txley corporation had been in business for 9 years.
9
               (c)   Defendant Eric Peterson intentionally discriminated against
10

11                   Plaintiff Sanjay Chakravarty by soliciting a cover bid from Ace
12
                     Hardware of Anacortes to give the appearance of competition,
13

14
                     where there was not.

15             (d)   Defendant Eric Peterson intentionally discriminated against
16
                     Plaintiff Sanjay Chakravarty by giving preference to Franz
17

18                   Johnson of Bay City Supply products in public bids for the
19
                     supply of cleaning materials at Skagit County, which was
20

21
                     awarded to Plaintiff Txley, but only after the bidding process

22                   was reset due to Plaintiff Sanjay Chakravarty’s complaints to
23
                     Ken Hansen.
24

25

26

27

28   PLAINTIFFS’ FIRST AMENDED COMPLAINT AND JURY DEMAND - 13
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1              (e)   Defendant Eric Peterson intentionally discriminated against
2
                     Plaintiff Sanjay Chakravarty by continuing to award marginal
3

4                    categories of orders to Bay City Supply despite being
5
                     ultimately forced to award the contract to Plaintiff Txley, and
6

7
                     Plaintiff Txley having these supplies on hand and in supply. It

8                    is a significant fact that during Covid-19 the shelves of Plaintiff
9
                     Txley stood well-stocked in cleaning supplies, and without
10

11                   deviation in demand from the previous year, which one might
12
                     expect in 2020 for a contract for the provision of cleaning
13

14
                     products sold by Plaintiff Txley to Skagit County. It is a

15                   figurative “dog that did not bark.”
16
               As these coincidences pile up, a discernible pattern of discriminatory
17

18             intent emerges, directed at Plaintiff Sanjay Chakravarty, by
19
               Defendant Eric Peterson - however, many explanations or excuses the
20

21
               Defendants may avail themselves to.

22             These acts constitute a pattern of intentional discriminatory treatment
23
               by at least one municipal and county level official against the
24

25             Plaintiffs, and tolerance of it by other public officials comfortably
26

27

28   PLAINTIFFS’ FIRST AMENDED COMPLAINT AND JURY DEMAND - 14
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1              ensconced in the notion that they can simply ignore this issue, and
2
               these allegations, and have them go away. There is, figuratively
3

4              speaking, a room full of wise guys where “no one saw nothing.”
5
               The reasoning of this public official – Defendant Eric Peterson – is
6

7
               opaque and the policies of the Defendant City of Burlington and

8              Defendant Skagit County - leaves Defendant Eric Peterson’s manifest
9
               bias against Plaintiff Sanjay Chakravarty unaccountable and
10

11             unanswerable.
12
               Plaintiff Sanjay Chakravarty’s prior public statement on October 24,
13

14
               2019 denouncing what he knew, but was afraid to say, was a direct

15             case of discrimination based not only on the readily inferable basis of
16
               racial and/or national origin, but on his direct perception of it under
17

18             the circumstances. This was then followed in time chronologically by
19
               a lateral promotion for Defendant Eric Peterson from his position at
20

21
               Defendant City of Burlington to a similar role at Defendant Skagit

22             County.
23
               To the extent that local, regional, and state authorities are cooperating
24

25             to resolve highly specific public complaints of racial or national
26

27

28   PLAINTIFFS’ FIRST AMENDED COMPLAINT AND JURY DEMAND - 15
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1              origin-based discrimination without dealing with those complaints,
2
               the court has federal jurisdiction.
3

4              The policies of the City of Burlington and Skagit County make
5
               Defendant Eric Peterson unaccountable for his ongoing animus to the
6

7
               Plaintiff Sanjay Chakravarty. The policies of these public bodies

8              leave well-founded allegations unanswered, and Defendant Eric
9
               Peterson unanswerable.
10

11             According to Plaintiff Sanjay Chakravarty, who is an astute
12
               businessman with more than a decade of business experience in
13

14
               Washington and has stated that he “never before felt so particularly or

15             directly aggrieved or obviously aggrieved about the color of his skin
16
               or the fact he was born in India until he was snubbed by Defendant
17

18             Eric Peterson, or since.” He believes he is being plainly and obviously
19
               discriminated against by a system – the regional local government
20

21
               constituted by the State of Washington and its political subdivisions

22             – that simply does not care.
23
               For Plaintiff Sanjay Chakravarty, and all others who are similarly
24

25             situated, it is a painful reminder of how they are treated when they do,
26

27

28   PLAINTIFFS’ FIRST AMENDED COMPLAINT AND JURY DEMAND - 16
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1              and indeed must, confront bigoted and racist forces working against
2
               them; that even armed with facts and specifics of discriminatory
3

4              conduct, that they may be dismissed and disbelieved, or as in this case,
5
               swept under the rug by shuffling personnel around.
6

7
               After the issue was raised, members of The City of Burlington made

8              empty promises to Plaintiffs to look into the allegations when
9
               confronted, and Defendant Eric Peterson arrived in his new position
10

11             at Defendant Skagit County as Covid-19 thrust supply of hygienic
12
               chemicals into a top national priority.
13

14
               The acts or omissions of Defendant Eric Peterson subjected Plaintiff

15             Sanjay Chakravarty to the deprivation of rights protected by the
16
               Constitution of the United States, namely the right under the 14th
17

18             Amendment not to be denied the equal protection of the laws of the
19
               United States on the basis of skin color or national origin; it is alleged
20

21
               specifically that Defendant Eric Peterson treated Plaintiff courteously

22             on the phone when Plaintiff called and introduced himself over the
23
               phone, and he used the name “Jay” and spoke with his “white voice,”
24

25             but when Plaintiff Sanjay Chakravarty – who cannot conceal his skin
26

27

28   PLAINTIFFS’ FIRST AMENDED COMPLAINT AND JURY DEMAND - 17
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1              color – approached Defendant Eric Peterson (a public official) in
2
               person on or around June of 2017, he was rebuffed rudely, literally
3

4              having the door slammed in his face. Only one significant thing had
5
               changed the day Defendant Eric Peterson went from being friendly
6

7
               and courteous to when Defendant Eric Peterson slammed the door in

8              Plaintiff’s face, which was Defendant Eric Peterson’s perception of
9
               Plaintiff’s skin color.
10

11             Defendant Eric Peterson has categorically and consistently snubbed
12
               Plaintiff Sanjay Chakravarty both in words and in deeds, at all
13

14
               relevant times thereafter.

15             When Defendant Eric Peterson slammed the door on Plaintiff Sanjay
16
               Chakravarty, the Plaintiff was denied equal protection under the law
17

18             in that he was unlawfully discriminated against throughout the public
19
               bidding and purchasing process and humiliated on the basis of his skin
20

21
               color or national origin.

22             Defendant Eric Peterson’s actions directly and proximately caused
23
               personal injury to Plaintiff Sanjay Chakravarty’s dignity and
24

25             reputation.
26

27

28   PLAINTIFFS’ FIRST AMENDED COMPLAINT AND JURY DEMAND - 18
     Case No. 2:20-cv-01576-MJP
                                                              WHEAT LEGAL PLLC
                                                               701 FIFTH AVENUE
                                                                   SUITE 4265
                                                         SEATTLE, WASHINGTON 98104-7047
                                                            TELEPHONE: (206) 262-7381
                                                               info@wheatlegal.com
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1              Defendant Eric Peterson’s actions directly and proximately caused
2
               economic injury to Plaintiff Txley’s business expectations and lost
3

4              profits.
5
               Defendant City of Burlington’s policies and procedures and Skagit
6

7
               County’s policies and procedures directly and proximately caused

8              economic injury to Plaintiff Txley’s business expectations and lost
9
               profits.
10

11             Defendant City of Burlington’s policies and procedures and Skagit
12
               County’s policies and procedures directly and proximately caused
13

14
               personal injury to Plaintiff Sanjay Chakravarty’s dignity and

15             reputation.
16
                          SECOND CLAIM FOR RELIEF
17

18                               (Breach of Contract)
19
                          (Against Defendant Skagit County)
20

21
               The Plaintiff realleges and incorporates by reference its allegations to

22             Paragraphs 1 through 56.
23
               On 10 April 2019, Plaintiff Txley and Defendant Skagit County
24

25             entered into a Vendor Services Agreement by which Plaintiff
26

27

28   PLAINTIFFS’ FIRST AMENDED COMPLAINT AND JURY DEMAND - 19
     Case No. 2:20-cv-01576-MJP
                                                               WHEAT LEGAL PLLC
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1              provided services/products up to a maximum sum of $40,000.00. A
2
               true and correct copy of this contract is annexed hereto as Exhibit B.
3

4              This amount was later increased by $8,000.00 on March 20, 2020.
5
               Plaintiff Txley has duly performed all of his/its obligations and duties
6

7
               under the contract.

8              By not ordering certain marginal product categories, and instead
9
               ordering them from their competitor anyway, Defendant Skagit
10

11             County has breached the contract by refusing to renew or order
12
               products it carries and stocks under its agreement.
13

14
               As a result of Defendant’s breach of contract, Plaintiff has been

15             damaged in an amount to be determined by the court, but no less than
16
               $42,000.
17

18                          THIRD CLAIM FOR RELIEF
19
                 (Tortious Interference with Business Expectancy)
20

21
                          (Against Defendant – Eric Peterson)

22             The Plaintiff realleges and incorporates by reference its allegations to
23
               Paragraphs 1 through 61.
24

25

26

27

28   PLAINTIFFS’ FIRST AMENDED COMPLAINT AND JURY DEMAND - 20
     Case No. 2:20-cv-01576-MJP
                                                               WHEAT LEGAL PLLC
                                                                701 FIFTH AVENUE
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1                That at the time of the conduct at issue, Plaintiff Txley had a business
2
                 relationship or expectancy with a probability of future economic
3

4                benefit for Plaintiff(s);
5
                 Defendant Eric Peterson knew of the existence of that business
6

7
                 relationship or expectancy;

8                Defendant Eric Peterson intentionally induced or caused the
9
                 termination of the business relationship or expectancy; and
10

11               Defendant Eric Peterson's interference was for an improper purpose
12
                 or by improper means, and that the pattern of discriminatory conduct
13

14
                 was a proximate cause of damages to Plaintiff(s).

15                                PRAYER FOR RELIEF
16
          WHEREFORE, Plaintiff respectfully requests that this Court enter a
17

18   judgment against Defendants, granting Plaintiff the following relief:
19
                 The entry of judgment in favor of the Plaintiffs on each and every
20

21
                 cause of action;

22               The award of the requested damages in the amount of no less than
23
                 $42,000.00;
24

25               The award of costs of the suit and attorney’s fees; and
26

27

28   PLAINTIFFS’ FIRST AMENDED COMPLAINT AND JURY DEMAND - 21
     Case No. 2:20-cv-01576-MJP
                                                                 WHEAT LEGAL PLLC
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          Case 2:20-cv-01576-MJP Document 17 Filed 12/21/20 Page 22 of 31



1              Such other relief as the Court deems just and proper.
2
          DATED this 21st day of December 2020.
3

4

5

6
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7
                                            WHEAT LEGAL PLLC
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                                            Seattle, Washington 98104-7047
9
                                            Telephone: (206) 262-7381
10                                          jeff@wheatlegal.com
11
                                            Attorney for Plaintiffs
12

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28   PLAINTIFFS’ FIRST AMENDED COMPLAINT AND JURY DEMAND - 22
     Case No. 2:20-cv-01576-MJP
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          Case 2:20-cv-01576-MJP Document 17 Filed 12/21/20 Page 23 of 31



1                          DEMAND FOR TRIAL BY JURY
2
          Plaintiffs demand a trial by jury on all issues that are so triable.
3

4         DATED this 21st day of December 2020.
5

6

7
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28   PLAINTIFFS’ FIRST AMENDED COMPLAINT AND JURY DEMAND - 23
     Case No. 2:20-cv-01576-MJP
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